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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 23-cr-274-RMR

UNITED STATES OF AMERICA,

        Plaintiff,

v.

SHARON ROBINSON,

        Defendant.


                                      INDICTMENT


THE GRAND JURY CHARGES:

At all times relevant to this Indictment, unless otherwise indicated:

                                   INTRODUCTION

        1.     On or about November 19, 2022 Club Q, a lesbian, gay, bisexual,

transgender, queer (LGBTQ) and otherwise inclusive club in Colorado Springs, was

brutally attacked by a mass shooter who shot and killed five people and injured

many more.

        2.     The mass shooting at Club Q received extensive and sustained

coverage from local, state, and national media organizations in the days and weeks

that followed.

                                       COUNT 1

     1. The allegations contained in paragraphs 1 and 2 are realleged and

        incorporated as if fully set forth in this paragraph.



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       2.    On or about December 8, 2022, in the State and District of Colorado

and elsewhere, the defendant,

                                SHARON ROBINSON

did transmit in interstate commerce a communication containing a threat to injure

another; that is, ROBINSON, while located in the state of New York, placed a

phone call from a cellular telephone to BUSINESS 2, known to the Grand Jury,

which catered to the LGBTQ community and was located in Denver, Colorado,

leaving a voicemail that included the following language

             “They might shoot your bar up next you faggoty homos,
             you sodomites”

which communication the defendant transmitted for the purpose of issuing a threat

and with knowledge that the communication would be viewed as a threat.

                                   Special Finding

       3.    The Grand Jury further alleges that SHARON ROBINSON

intentionally selected the victims of her threat because of their actual and perceived

sexual orientation.

       All in violation of Title 18, United States Code, Section 875(c).

                                      COUNT 2

       4.    The allegations contained in paragraphs 1 and 2 are realleged and

incorporated as if fully set forth in this paragraph.

       5.    On or about December 8, 2022, in the State and District of Colorado

and elsewhere, the defendant,

                                   SHARON ROBINSON



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      did transmit in interstate commerce a communication containing a threat to

injure another; that is, ROBINSON, while located in the state of New York, placed a

phone call from a cellular telephone to BUSINESS 1, known to the Grand Jury,

which catered to the LGBTQ community and was located in Denver, Colorado,

telling BUSINESS 1 OWNER, whose identity is known to the Grand Jury, among

other things:

                “They want to shoot you next faggot. You homosexuals. You
                big faggots. Sodomite pieces of shit. They gonna shoot you
                next. Gonna shoot you next you piece of shit. Faggots. G-
                G-Gonna kill you 1-2-3 faggot. Only you gay people.
                Faggot.”

which communication the defendant transmitted for the purpose of issuing a threat

and with knowledge that the communication would be viewed as a threat.

                                    Special Finding

      6.        The Grand Jury further alleges that SHARON ROBINSON

intentionally selected the victims of her threat because of their actual and perceived

sexual orientation.

      All in violation of Title 18, United States Code, Section 875(c).

                                       COUNT 3

      7.        The allegations contained in paragraphs 1 and 2 are realleged and

incorporated as if fully set forth in this paragraph.

      8.        On or about December 8, 2022, in the State and District of Colorado

and elsewhere, the defendant,

                                 SHARON ROBINSON

did transmit in interstate commerce a communication containing a threat to injure

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another; that is, ROBINSON, while located in the state of New York, placed a

phone call from a cellular telephone to BUSINESS 3, known to the Grand Jury,

which catered to the LGBTQ community and was located in Glendale, Colorado,

telling BUSINESS 3 OWNER , whose identity is known to the Grand Jury, among

other things:

                “I’m going to go over there and shoot you all” and

                “You fucking faggots. I’ll shoot you. You’re going to die”

which communication the defendant transmitted for the purpose of issuing a threat

and with knowledge that the communication would be viewed as a threat.

      All in violation of Title 18 United States Code, Section 875(c).

                                        Special Finding

      9.        The Grand Jury further alleges that SHARON ROBINSON

intentionally selected the victims of her threat because of their actual and perceived

sexual orientation.

                                        COUNT 4

      10.       The allegations contained in paragraphs 1 and 2 are realleged and

incorporated as if fully set forth in this paragraph.

      11.       On or about December 8, 2022, in the State and District of Colorado

and elsewhere, the defendant,

                                  SHARON ROBINSON

did transmit in interstate commerce a communication containing a threat to injure

another; that is, ROBINSON, while located in the state of New York, placed a

phone call from a cellular telephone to BUSINESS 4, known to the Grand Jury,

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which catered to the LGBTQ community and was located in Denver, Colorado,

telling BUSINESS 4 EMPLOYEE, whose identity is known to the Grand Jury,

among other things:

             “You’re gonna be shot up like Club Q”

which communication the defendant transmitted for the purpose of issuing a threat

and with knowledge that the communication would be viewed as a threat.

                                  Special Finding

      12.    The Grand Jury further alleges that SHARON ROBINSON

intentionally selected the victims of her threat because of their actual and perceived

sexual orientation.

      All in violation of Title 18, United States Code, Section 875(c).



                                                    A TRUE BILL:

                                        Ink signature on file in Clerk’s Office
                                        FOREPERSON

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